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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                      §             MDL No. 2179
       “DEEPWATER HORIZON” in the                    §
       GULF OF MEXICO on                             §              SECTION: J
       APRIL 20, 2010                                §
                                                     §
                                                     §       Judge Carl J. Barbier
         This document relates to:                   §   Magistrate Judge Sally Shushan
                                                     §
                  2:10-cv-03168                      §
                                                     §
                                                     §
                                                     §
                                                     §
                                                     §


                                             ORDER

         Considering the Defendant M-I L.L.C.’s Motion to Dismiss Plaintiffs’ Sixth Amended

Complaint for failure to state a claim pursuant to Fed. R. Civ. P. 12(b)(6):

         IT IS HEREBY ORDERED that Defendant M-I L.L.C.’s motion to dismiss is granted.

         New Orleans, Louisiana, this _____ day of August, 2011.



                                                      ____________________________________
                                                      UNITED STATES DISTRICT JUDGE




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